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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00086-REB-2

UNITED STATES OF AMERICA,

       Plaintiff,

v.

2. BRAINARD CLARK,

       Defendant.


     UNITED STATES= MOTION TO DISMISS COUNTS 2-5 OF THE SUPERSEDING
                               INDICTMENT


       The United States of America, by and through Kelly R. Churnet, Assistant United

States Attorney, hereby moves this Court to enter an order dismissing Counts 2-5 of the

Superseding Indictment [ECF # 44] as to the defendant filed on November 21, 2019.

On September 21, 2021, the defendant entered his plea of guilty to Count 1 of the

Superseding Indictment. ECF # 189. The United States agreed as part of the plea

agreement to dismiss Counts 2-5 of the Superseding Indictment. See ECF # 190.

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Therefore, the United States hereby requests this Court dismiss Counts 2-5 of the

Superseding Indictment upon acceptance of defendant’s plea of guilty in this matter.


Dated: December 22, 2021

                                               COLE FINEGAN
                                               United States Attorney

                                               s/ Kelly R. Churnet
                                               Kelly R. Churnet
                                               Assistant United States Attorney
                                               United States Attorney's Office
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                              CERTIFICATE OF SERVICE

        I hereby certify that on December 22, 2021, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to all counsel of record in this case.


                                                 By: s/ Stephanie Price
                                                     Stephanie Price
                                                     Legal Assistant




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